Case 1:17-cr-00232-EGS Document 248-5 Filed 09/24/20 Page 1 of 25

TE/TIME/DAY N/OUT
2016-07-19 2:23:27, Tue OUTBOX wow, Donald Ti is an enormous d*uche
rump out was "we're going to win soooo
2016-07-19 10:18:29, Tue OUTBOX dream.
2016-07-19 11:20 Tue OUTBOX it's a two-bit Idoso his comes to bite him hard in November.
2016-07-19 11:21:09, Tue INBOX It HAS t ? ?!? Panicked
2016-07-21 8:52:17, Thu OUTBOX is Donald T: Sets Conditions for NATO Allies Attack
is campaign is a train over over and over again. How Donald Trump His Running Mate
2016-07-21 9:09: Thu OUTBOX
2016-07-21 9: Thu INBOX rump is a disaster. | have no idea how his would be

2016-07-25 0:42:49, Mon INBOX low side or side? Can't find it
2016-07-25 0:43:08, Mon INBOX found it
2016-07-25 0:43:09, Mon OUTBOX
2016-07-25 0:44:04, Mon OUTBOX Peter. It wasn't me. No of mention or of it. I'm
2016-07-25 0:44:46, Mon OUTBOX ask her. of it bc had to Fisc and saw him there. I'm tel
| just I So in told you or to you
2016-07-25 0:50:41, Mon INBOX in talk
2016-07-25 0:50:41, Mon INBOX to him in terms of not him into a where he'd have to recuse himself.
2016-07-25 0:5 Mon OUTBOX I can't either one of could talk about in detail | to warrant recusal
2016-07-25 0:52:22, Mon OUTBOX meant to, but didn't.
Really? Rudy, I'm in charge of espionage for the FBI. Any espionage FISA comes before him, what should he do, given his friend
2016-07-25 0:53:07, Mon INBOX them?
2016-07-25 0:53:54, Mon INBOX | believe that | didn't. t | had. Ha to wanted to and I talk about it with
2016-07-25 0:56:23, Mon OUTBOX for recusal are quite I don't think this an actual conflict. And doesn't he know what do?
2016-07-25 0:59:55, Mon INBOX he does know what i do. Not the level or or area. E
2016-07-25 0:59:55, Mon INBOX ut he's and about ethics and conflicts.

, itis pretty just to win now. I'm not going to Igota nervousness
2016-07-27 0:21:39, Wed OUTBOX have the tial to make a mistake here..
m not worried ana Assanges
2016-07-27 0:3 Wed INBOX the memo
2016-07-27 0:32:05, Wed INBOX and brief and case done.

I'm not worried about them. I'm worried about the anarchist Assanges who will take fed information and disclose it to disrupt
2016-07-27 0:32:09, Wed INBOX We've the memo and brief and case filing done

Have we yet? \U0001 Trump & Putin. Yes, It's
2016-07-28 1:38:44, Thu OUTBOX -
2016-07-28 1:51:04, Thu INBOX onT ? If did know 5S field offices would..
2016-07-28 1:54:17, Thu INBOX article h the thing | mentioned to earlier, if Bill had noted it to 7th floor. I'm to send it to hin

2016-07-31 23:10:23, Sun INBOX 7 F-HQ-25126529, 07, 6. ‘m certain | f'ed up serialization somehow but we'll sort that out late:
2016-07-31 23:11:30, Sun INBOX damn this feels momentous. Because this matters. The other one

2016-07-31 23:11:30, Sun INBOX too, but that was to ensure we didn't F someth This mat

2016-07-31 23:11:30, Sun INBOX because this MATTERS. So to be on this wil

2016-07-31 23:11:31, Sun INBOX

2016-07-31 23:12 Sun INBOX thanks

2016-07-31 23:13:52, Sun INBOX for that...

2016-07-31 23:14:59, Sun INBOX ell wait a minute. Sentinel now shows 97F-HQ-2063661. Go with this one

2016-07-31 23:19 Sun OUTBOX | know. Me too.

 

DOJSCO - 700023516
2016-08-03 1:10:10, Wed

2016-08-03 1:1 Wed
2016-08-03 1:1 Wed

2016-08-03 1:16:57, Wed

2016-08-03 1:17 Wed
2016-08-03 1:17 Wed

2016-08-03 7:31:14, Wed

2016-08-03 7:32:53, Wed
2016-08-03 7:33:33, Wed
2016-08-03 7:34:13, Wed

2016-08-03 7:35:58, Wed

2016-08-03 7: Wed
2016-08-03 7: Wed
2016-08-03 7:36:23, Wed
2016-08-03 7:37 Wed
2016-08-03 7:38:26, Wed
2016-08-03 7:38:30, Wed
2016-08-03 7:38:35, Wed
2016-08-03 7:39:21, Wed
2016-08-03 7:39:28, Wed
2016-08-03 7:39:50, Wed
2016-08-03 7:40:56, Wed

2016-08-05 14 Fri
2016-08-05 14:15:19, Fri
2016-08-05 14:50:42, Fri
2016-08-05 14:52:45, Fri
2016-08-05 14:53:44, Fri
2016-08-05 14:59:38, Fri
2016-08-05 14:59:53, Fri
2016-08-05 15:00:07, Fri
2016-08-05 15:12 Fri
2016-08-05 16:37:19, Fri
2016-08-05 16:37:35, Fri

2016-08-05 16:44:32, Fri
2016-08-05 16:44:33, Fri
2016-08-05 16:54:54, Fri
2016-08-05 16:55:25, Fri

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lhm is fine. | cannot believe how it took
don't think it's going to be interactions are going to be more with his security (Bc private, ex-Bu ones ir
to the Service
fina it when | was concerned and first asked for it. That I think

@ h0 @So at this | think we need to consider the what we disclose to DoJ. For example, the last stipulation notes

will not disclose t
@ @ tities FBI. 1 | you argue

reasona
ho be to cause to US national

stressed. About | can't control at all, so it's stu But here lam

Please. | am the KING of that behavior. It mixes well with control silliness. What? This ? Something else:

New case. Information flow. Control.
. The And but it's not mine to about.
@(1@ you. Joe we're writing it up agency One just , NO names or

admin cable with names
@(1@, going to ing wants to
not tell him or
1@r data so that he and can tell DOJ, even we don't know the admin details.
ou're *s counsel. By definition it's to about.
No it's not. Not like this. He's not
it's all ok. We'll succeed in of ourselves. Problem is
is MUCH more for one of those DoJ aholes to leak For th
first time in a while I'm not worried about our side.
| know. Just can't.
He's not what? about jt?
Information flow and control.
He should be. | can reinforce that when | brief and , if | talk to him about it

Have M wf with ch team at 9 like we did with Need to tall to about Bil
now

Not sure. Pri ? Defer
I'm to invite him. it'sa now (10). Added baker

. It's fine. Kevin deserves to be there
Who do | exclude?
I'm not to send it until later this afternoon.
hi. Went best we could have Other than “the White House is this."
answer, " for are." ©
course, | was ing ont guy, coming, we've got an ve got no
do nee
to leave?
Don't have work to do?
whatever (re the WH comment). We've emails that otherwise

 

DOJSCO - 700023517
2016-08-06 14:54 Sat
2016-08-06 14:55:19, Sat

2016-08-06 15:04:39, Sat
2016-08-06 15:04:39, Sat
2016-08-06 15:05:49, Sat
2016-08-06 15:06:24, Sat
2016-08-06 15:06:47, Sat

2016-08-06 15:28:49, Sat
2016-08-06 15:28:49, Sat

2016-08-09 3:26:23, Tue
2016-08-09 3:40:34, Tue

2016-08-11 0:51:25, Thu
2016-08-11 0:52:58, Thu
2016-08-11 0:53:37, Thu
2016-08-11 0:53:43, Thu
2016-08-11 0:53:44, Thu
2016-08-11 0:54:23, Thu
2016-08-11 0:56:55, Thu
2016-08-11 0:57:27, Thu
2016-08-11 0:57:39, Thu

2016-08-14 21:19:54, Sun
2016-08-14 21:19:54, Sun
2016-08-14 21:23:08, Sun
2016-08-14 21:25:21, Sun
2016-08-14 21:27:54, Sun
2016-08-14 22:05:41, Sun

2016-08-15 10:
2016-08-15 10:

2016-08-17 21:51:37, Wed
2016-08-17 21:51:38, Wed
2016-08-17 21:55:18, Wed

2016-08-17 22:00:11, Wed
2016-08-17 22:00:11, Wed

2016-08-24 23:36:44, Wed
2016-08-24 23:36:44, Wed
2016-08-24 23:36:44, Wed

 

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‘re meant to where are because ‘re meant to from that menace. To that read this
Enablers Will Finally Have to Take a Stand
true we're very nate. course I'll try it way. | just it

can our at levels, not sure if that
| know it will too. But it's just a It's not a reflection of worth or or smarts
it's funny, | feel affection for David Brooks. For his reasonableness and his human
| need to in the shower.
: He appears to no to experience reverence, i any capacity to ire or serve
th
self, to want to learn about self, to want to know and honor the around

He's not ever to become ? ?!
No. No he's not. We'll it.

Latitude?
Ooh. | like it Want me to send
If want.
Latitude? (other than it sounds and came up with it

to think of someth without obvious
YUUUUGE. we save that for the if we ever on him ;'
OMG | CANNOT BELIEVE WE ARE SERIOUSLY LOOKING AT THESE ALLEGATIONS AND THE PERVASIVE CONNECTIONS
the hell has to our P1212?

Hey. So D on CH tomorrow at 330. If not

des
re to svtc in. Assume ?
not to. Either is fine for me.
D dd add ead GC
Fine, | Don't love add , so be it
me either, but | can do about that didn't send.

| want to you threw out i e's no way he gets
that ris
k. It's like an insurance in the event die before ‘re 40..

to too. | got an army moving on
tomorrow abo
ut how are tr for awareness. A lot of chefs in the kitchen..
let's chat tomorrow. | feel much less connected to this case than the last it's a lot more
It'sa one. I'll give you a on cases You
affic for sur
| think.

| like ! Are we in thunderdome tonorrow? Have
for Can in there 15 min with AV 2? Cc
thru

DOJSCO - 700023518
Case 1:17-cr-00232-EGS Document 248-5 Filed 09/24/20 Page 4 of 25

Y
2016-08-24 23:37:37, Wed . time.
No. Not it. Yep! Everyone i uncooperative. Great competence and
2016-08-24 23:38:53, Wed . Plus CP is kind
2016-08-24 23:38:54, Wed a douche.
can you want. is is He to on to his fbi net termi
2016-08-24 23:38:56, Wed he needs. I'll send an email her know we will need

2016-08-26 16:42 Fri
2016-08-26 16:42:38, Fri

2016-09-02 13:41:28, Fri
2016-09-02 13:42:38, Fri
2016-09-02 13:42:44, Fri
2016-09-02 13:49:37, Fri
2016-09-02 13:50:28, Fri
2016-09-02 13:55:19, Fri

2016-09-27 0:33:24, Tue
2016-09-27 0:40:42, Tue

2016-09-27 0:40:53, Tue
2016-09-27 1:44 Tue

2016-10-12 22:50:36, Wed

2016-10-12 23:08:47, Wed

2016-10-12 23:13:33, Wed

2016-10-20 1:15:42, Thu
2016-10-20 1:16:27, Thu
2016-10-20 1:22:34, Thu
2016-10-20 1:24:18, Thu

2016-11-02 0:37 Wed

2016-11-02 0:45:42, Wed
2016-11-02 0:45:42, Wed
2016-11-02 0:46:15, Wed

2016-11-02 0:47 Wed

2016-11-02 0:48:22, Wed
2016-11-02 0:4! Wed
2016-11-02 0:49:08, Wed
2016-11-02 0:49:25, Wed
2016-11-02 0:50:12, Wed

lord. Talk about an and blast from the
went to a southern Vi Walmart. | could SMELL the T

Checkout 9:30 on the 7th
| can tell ‘re that
It's not what think.
for D?
es, bc wants to know we are

I'm sure an honest answer will come out of that

Did read this? It's . And I'm scared. Donald Trump Should Not Be President
Man, | should have started earlier. I'm stressed about the debate.

? How hard is it?
is me actual God us.

dbQPuF

- The FISA will not go forward without a call from the DD. Even as is, the court not hear it this week.

now a re any

now,

concerns. Strong operational need to have in place before Monday if at all possible, which means to ct tomorrow. |
you and boss's green light to Stu earlier, and just sent an email to Stu asking where things stood. This might take a high-

level - Will .
I not Stu in an | your name to say you want to

1am riled up. T isa is unable to a coherent answer.
Please. | don't want to know.

| CAN'T PULL AWAY. WHAT THE FUCK HAPPENED TO OUR COUNTRY, LIS?!??!?!
| don't know. But we'll it back. We're America. We rock.

Like | said nd ny convo. ...
response,
have
no reason for contact with NYO forward in this.
| know. Which is what | tried to
5 me very very angry. I out out things,
them.

are, so

to

you on now more ever. Truly. no bs, your country you now. Weare going to very wise

all of this.
on in statement is
lam to have to use Jim Baker a lot to to the D. But | don't trust that he can details
I'm not sure | with there
Not JB. And this is a finite | want to be done before the

 

DOJSCO - 700023519
Y
2016-11-02 0:50:44, Wed
2016-11-02 0:50:45, Wed
2016-11-02 0:50:58, Wed
2016-11-02 0:53:40, Wed
2016-11-02 0:55:26, Wed

2016-11-02 0:56:30, Wed
2016-11-02 :30, Wed
2016-11-02 0:57:53, Wed
2016-11-02 1:02:12, Wed
2016-11-02 :20, Wed
2016-11-02 :58, Wed
2016-11-02 1:07:26, Wed

2016-11-02 1:08:52, Wed
2016-11-02 1:09:20, Wed
2016-11-02 1:13:30, Wed
2016-11-02 1:14:13, Wed
2016-11-02 1:14:52, Wed

2016-11-04 2:23:21, Fri
2016-11-04 2:25:34, Fri
2016-11-08 1:56:29, Tue
2016-11-08 1:56:29, Tue
2016-11-08 1:56:29, Tue
2016-11-08 2:05:50, Tue
2016-11-09 12:13:35, Wed
2016-11-09 12:43:11, Wed
2016-11-09 12:44 Wed
2016-11-09 12:51:15, Wed
2016-11-09 14:12:40, Wed
2016-11-09 16:35:22, Wed

2016-11-13 19:11:15, Sun

2016-11-14 13:51:25, Mon

2016-11-21 17:52:42, Mon

2016-12-10 17:47 Sat

 

2016-12-10 17:51:43, Sat

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ou're Not the of or i) would but not
else can | use?
? Don't think so.
| don't know. And not . Me? QT roommate.

e're going to sure the right thing is done. You underestimate my - our - enthusiasm and competence and motivation. You can
be worried. Take str
from me. Then add Bill and Jim onto that. It's na be ok
| know that are. | have confidence in the team. You know that
team. I do. I'm to take comfort in that.
don't know.
| just had a horrible realization: what if | can't talk to about back and forth about what to do?
? What do mean?
to me to a
because once he is out he shouldn't have discussions about of it, even
I think this isn't a idea for me.
Lisa. The more | think about it, the more certain | am that it is.
our conversations with would be covered under no:
| said to the other and | m have to do without this time. | mean it

No Pete. It's your JOB. And what you're time. And the American presiden , and thus,

state of the in the balance
ou either start with a new blank slate on Nov. 9 or you never make it Pete. You will never live down that unmeasureable subjective

THIS IS F*CKING TERRIFYING: A Mr. T. remains
ible: Mrs. Clinton’s chance of is about the same as the
that an N.F.L. kicker misses a field
that's not

oo hard to here. Election related. Which is also bad. Sure

it should just be the first of the secret
Ch we should just hit those thumb drives now. Their i irrelevant.

even to out r calendars? Seems kind of
I'll mention to
to ofc now
lam so

all the t's men. | needed to brush up on watergate. \U0001f615

here makes me . Lots of fallutin' national security talk. Meanwhile, we have OUR task ahead of us.

our email isn't . Please check sentinel when return. That EC is re. Thanks

as Bill's
It was OK. | i we were
with

DOJSCO - 700023520
2016-12-10 17:51:43, Sat
2016-12-10 17:51:43, Sat
2016-12-10 17:51 Sat

2017-01-03 11:21:32, Tue
2017-01-03 11:23:37, Tue

2017-01-03 11:26 Tue

2017-01-03 11:30:35, Tue
2017-01-03 11:31:07, Tue
2017-01-03 11:34 Tue

2017-01-03 11:36:38, Tue

2017-01-04 0:55:00, Wed
2017-01-04 1:27:23, Wed
2017-01-04 1:27:55, Wed

2017-01-04 1:28:46, Wed

2017-01-04 1:29:55, Wed
2017-01-04 1:50:12, Wed
2017-01-04 1:51:09, Wed
2017-01-04 1:53:45, Wed
2017-01-04 2:26:42, Wed
2017-01-04 2:27:09, Wed
2017-01-04 2:27:50, Wed

2017-01-04 21:44:20, Wed
2017-01-04 21:44:47, Wed
2017-01-04 22:48:29, Wed
2017-01-04 23:44:29, Wed
2017-01-04 23:47 Wed
2017-01-05 55, Thu
2017-01-05 0:04:33, Thu
2017-01-05 0:05:25, Thu
2017-01-05 0:05:28, Thu
2017-01-05 0:05:38, Thu
2017-01-05 Thu
2017-01-05 0:07:10, Thu
2017-01-05 0:07:21, Thu

2017-01-10 19:32:39, Tue
2017-01-10 19:53:22, Tue

2017-01-10 19:58:15, Tue

 

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giving any i ing,
Said
didn't ask for an when we and that he we were ina
It won't. *s views on the matter will a lot more something on his out the door

No to
talk?
ep. Went now. We're meeting at 9 to . answers
t now

material in the is much better now. Don't like an but is what itis. Did follow the drama over the PDB last week
Don't know how it ended
didn't include of it and Bill didn't want to dissent.

. Bill should make sure knows about since he was consulted numerous times about whether to include the
conversation just It was nice it got past some

| wrote back. Glad talked with bill. About case stuff or other:
Ha. this out

stuff. re not at ease with outcome of and need for all of us to back and be in
He, like us, is concerned with over sharing. Doesn't want Clapper giving CR cuts to WH. All political, just shows our hand and potentially
makes enemies.
Did the D have about attendance ?
but in mind we were to that in the doc on with distribution than the dn
is should we, to the of the lame duck usic with axes to
it. We will tell the rest of them tomorrow and if don't have | | will

I'm

call me work need to ask
tried

Hi. Bill to talk to Baker.
call me and rescue me from ‘re

if ‘re all for Razor, | have relevant new info to that discussion
Sciutto on CNN now
what?

have to run back to ofc
Intel concerned about T. | also think | know what other item is - crimes
I it?
sort of.
No. Have to make a
| can work late on eras t

does need to be at sb?
| don't think so
Depends what he wants to talk about. They called my guys getting a bunch of info, | assume to answer the DC prep question. | guess
bottom line answer,

DOJSCO - 700023521
Y
2017-01-10 19:58:15, Tue

2017-01-10 20:04:58, Tue
2017-01-10 20:22:21, Tue
2017-01-10 20:23:38, Tue
2017-01-10 20:25 Tue
2017-01-10 21:11:33, Tue
2017-01-10 21:11 Tue

2017-01-10 21:13:39, Tue
2017-01-10 21:13:40, Tue
2017-01-10 21:14:33, Tue
2017-01-10 21:18:41, Tue
2017-01-10 21:19:27, Tue
2017-01-10 21:54:12, Tue
2017-01-10 23 Tue

2017-01-10 23:18:20, Tue
2017-01-10 23:32:59, Tue
2017-01-10 23:35:43, Tue
2017-01-10 23:36:14, Tue

2017-01-14 2:02:12, Sat

2017-01-14 2:02:14, Sat
2017-01-14 2:02:14, Sat
2017-01-14 2:03:35, Sat
2017-01-14 2:04 Sat

2017-01-14 2:05:12, Sat
2017-01-14 2:05:12, Sat
2017-01-14 2:05:19, Sat
2017-01-14 2:05:52, Sat

2017-01-22 14:08:27, Sun

2017-01-22 14:14 Sun

2017-01-22 14:14:01, Sun

2017-01-23 1:05:39, Mon
2017-01-23 1:06:51, Mon
2017-01-23 1:09:28, Mon
2017-01-23 1:10:35, Mon
2017-01-23 10:56:22, Mon
2017-01-23 10:56:33, Mon
2017-01-23 10:56:42, Mon

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if send the i wouldn't But | think | can cover the
Hey to re CNN this PM,

is the ?
alked with he didn't think we needed. | can ask and name
But if we want to bring their detail , | want to ours. And mine is me he knows all the C
ou free to talk as we back and back?
No in with
K. | assume - Brits have twice today that media reps want to reach out to CNN - that our answer is
because that's the las
Rich had Do know if that calculus based on the info Mike
Btw, PF's ! :D
ou are kidding me. ©
Ht!
| want to know the context of the
with Bill wat CNN. A TON more out

let me know when can talk. We're d whether, now that this is out, we use it as a to go interview some
| will.
I'm late late late. office now I'll call when he leaves.
K. Korn has but not onC

re the first topic, the atty threw out Lisa Monaco's name (said they're friends) and asked who the highest FBI atty aware of it was,
there wa
s an AUSA. They told him JB - not ideal, but whatever. Thing is, if | had the ticket, | would have emailed JB 15 minutes ago to give him a
hea
... Yes, |need to let
ou can still do that...
didn't answer the AUSA question.
isn't one, this isn't a matter, we just want to to qu
know what i
‘s about"), "it's about the stuff in the isn't it?"

firm.

| think we need to set up a reset re the CH cases for when is back. I'm concerned that Bill has such a misunderstand
Got it. we meet him at on Pen on one to me, guise of going
the

ive It IS clear, Lisa. It has been clear. It's not what Bill wants. And it with her " " craziness

In the | think I'm to ask him to it and future travel for a few months
one-hour brief to is more than could do in London this week

It's because history has that we are ALWAYS
!

Reading that article now.
can not go this week.

to ask him to

 

DOJSCO - 700023522
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Y
2017-01-23 10:57 Mon in the shower. You've in there
2017-01-23 10:57:24, Mon ; luck with that. Brits will understand. I'm
2017-01-23 10:57:26, Mon
2017-01-23 Mon course will. It was dumb to have in the first
see, He was pretty
2017-01-23 11:37:54, Mon conversations
sense it wanted to to go . |worry isn't getting
2017-01-23 11:37:54, Mon u d
2017-01-23 11:37 Mon istinction that | think is clear. But I'm
2017-01-23 11:45:40, Mon | can feel heart harder, I'm so stressed out about all the this has the to off the rails
| know. | just talked with we're getting together as soon as | get in to finish that write up for Andy this morning. | reminded Johr
2017-01-23 11:56:23, Mon how | ha
entire group we wait 30 to 60 er inauguration to were managing . Asi
2017-01-23 11:56:23, Mon he went ahead
is com is good on our cases, no hope or
2017-01-23 11:56:23, Mon ‘re doin
2017-01-23 11:56:23, Mon on of the house. There was a visitor this weekend that I'm not sure we did with

2017-01-23 17:12:15, Mon Need to talk to when are done re razor

2017-01-23 17:15:13, Mon free for lunch around 1?

2017-01-23 17:15:23, Mon | am close to and an hour break then

2017-01-23 17:15: Mon No worries if are not

2017-01-23 17:16:41, Mon | could meet! Not sure | can take a whole hour . Could come closer to me?

2017-01-23 20:03:37, Mon make sure if talk to Bill re make sure he doesn't mention to mike

2017-01-23 21:28:56, Mon I'm at dd ofca

2017-01-23 23:07:22, Mon If ‘re not there need to go to

2017-01-23 23:40:18, Mon hit at desk

2017-01-23 23:50:59, Mon I'm still here in with dd. We WI talk before | leave for sure
2017-01-23 23:53:59, Mon Talked he'll be we're a
2017-01-23 23:53:59, Mon nd at 6 tomorrow T, to Bill now. Is that him now wit
2017-01-23 23:54 Mon h Bill?

2017-01-24 0:41:04, Tue No.

2017-01-24 0:41: Tue | mean It was.

2017-01-24 0:41:32, Tue Bill to me

2017-01-24 1:34:23, Tue K. Check

2017-01-24 2:17:48, Tue Dude, | am WIRED. Can't focus on

2017-01-24 14:27:57, Tue Bill told me that he -

2017-01-24 14:27 Tue is time in front of D - cuts. Didn't know he was

2017-01-24 14:27 Tue that.

2017-01-24 14: Tue dd is frustrated. Going into

2017-01-24 14:29:09, Tue Don't r

2017-01-24 14:30:15, Tue | won't. Bill said D started one and DD cut him off. I'd be frustrated toc

2017-01-24 16:02:07, Tue need to talk to - lunch unless ‘re 1230 with ? | have now until 113(
2017-01-24 16:05:17, Tue lam to sit on 12:30, unless

2017-01-24 16:06 Tue but concerns about counsel as witness.

 

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Y
2017-01-24 16:18:17, Tue I call her concerns? | do this all the time
2017-01-24 16:18:59, Tue ‘s in the with me. | will her out with me at 1130 and we'll cal
2017-01-24 16:19:26, Tue No worries. I'm sure it's the same
2017-01-24 16:19:34, Tue | don't think the concern is there. The concern is as the witness.
| get it. We're just it t care if it is you or me or
2017-01-24 16:20:35, Tue here a lot.
‘ou sit in! Just is to a witness, person. At
2017-01-24 16:22:36, Tue understood
2017-01-24 16:22:36, Tue - we're over thin this. More I'm sta Where are we
His main interest was to notes so | cou ing to write
2017-01-24 16:25:46, Tue it is.
2017-01-24 16:26 Tue Fine with me
2017-01-24 16:33:22, Tue done. what'sa # for. and lunch?
2017-01-24 16:33:35, Tue cell
2017-01-24 18:20:04, Tue are ?
2017-01-24 18:20:51, Tue called cell...
2017-01-24 18: Tue In with this
2017-01-24 18:23:11, Tue You to be able to out before we go at 1:40? Just
2017-01-24 18:23:11, Tue for luck. All on the even!
2017-01-24 18:25:46, Tue eah | should. 1:40? That's REALLY no?
2017-01-24 18:26:13, Tue his *s number in case waves hasn't
ant to arrive NLT 2. So step 1:45-1:50. extra 5-10 if you
2017-01-24 18:27:42, Tue finis
2017-01-24 18:27:43, Tue there before 2 :
2017-01-24 20:3 Tue Done. Got us and an hour.
2017-01-24 20:31:21, Tue .
2017-01-24 20:37:15, Tue for ?
2017-01-24 23:48:25, Tue to thanks for before | left.
2017-01-24 23:48:25, Tue for the better
2017-01-25 0:16:24, Wed
2017-01-25 0:1 Wed ou're welcome.
2017-01-25 0:1 Wed eah its kind of ridiculous. heard those stories abou
2017-01-25 0:1 Wed someone feel confident and invincible and sa
2017-01-25 0:19:02, Wed . Until
2017-01-25 0:19: Wed
2017-01-25 0:19:55, Wed | know
2017-01-25 0:20:09, Wed | want to talk with alln
2017-01-25 0:24:03, Wed Describe the excitement we had
2017-01-25 0:24:03, Wed him it we'd have to into
2017-01-25 0:24:03, Wed Puzzle round and round about it. Talk about the details. Reme
2017-01-25 0:24:03, Wed mber what | said that made and ask if he really said tha
2017-01-25 0:24 Wed sweetie. You me sucha of
2017-01-25 0:24:04, Wed

my assessment. course or error. But we were pretty

2017-01-25 0:52:32, Wed to -
2017-01-25 :32, Wed r hesitation to tell me did worried me a little bit

you. Its important to me you m i to go out on a counterintuitive yet
2017-01-25 2:51:24, Wed com

 

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expressing : sense. B)I . patriotic or
2017-01-25 2:51:24, Wed . C) nott
2017-01-25 2:51:24, Wed in the other not . ls that one out of three or two out of three? ;

2017-01-25 11:54:28, Wed is no? Were with when he called the DAG:
2017-01-25 11:57:50, Wed No, not most of the time. Saw him after, and he looked almost rattled
2017-01-25 12:01:17, Wed was what was comments about be for how bad it be
2017-01-25 12:01: Wed

2017-01-25 12:03:39, Wed

2017-01-25 16:25:23, Wed . for WH stuff. Not too as I'm too . Need on how to
2017-01-25 16:25:40, Wed with Bill baker

2017-01-25 16:26 Wed to chat

2017-01-25 18:14:23, Wed Don't race back - don't think it will at 1:30a

2017-01-25 18:14:25, Wed Just finished. Fireworks

2017-01-25 18:14: Wed

2017-01-25 18:15:09, Wed ell come by under the of He moved the time without kortan, who can't do it at 1:30
2017-01-25 23:28:44, Wed . Assume there's Razor discussion | would like to be a of. Glad ‘re there.
2017-01-25 23:30:22, Wed Not . Baker briefed earlier, so we didn't talk about much.

urry up. | am certain not to say. | Ss now spent more time in
2017-01-26 17:29:43, Thu
2017-01-26 18:49:10, Thu Dude about what we we would find. You're h
2017-01-26 18:51:16, Thu ?
2017-01-26 18:51:39, Thu would never had been a of his

‘ou I to.come up prep session I'm totn, wants to do il
2017-01-27 13:24:42, Fri himself, for what
2017-01-27 13:24:42, Fri reason (s), fine. Just excluded and a little p*ssed
2017-01-27 13:27:18, Fri No. He was deliberate about who he wanted with If | would ask were excluded
I 1130, razor, to razor, would come
2017-01-27 14:36 Fri He seemed

to to or you was . He it came up at D
2017-01-27 14:36 Fri the sense the
were going to talk about it alone later, which is what he wanted to determine. | told him | didn't need to be involved in the
2017-01-27 14:36 Fri which
isa came up, to He Anyway,
2017-01-27 14:36 Fri
way, it ing, | just spent an
2017-01-27 14:36:06, Fri

2017-01-31 1:31:31, Tue I'm a sensible answer from JB on all the
you've still got to to Jim angry use it's very
2017-01-31 1:33: Tue his conversatio
2017-01-31 1:33:35, Tue n with them indicated.
2017-01-31 2:25 Tue I those won't be
2017-01-31 2:29:50, Tue . That accelerated.
2017-01-31 2:33: Tue Ha. | not.

 

DOJSCO - 700023525
Y
2017-01-31 2:33:43, Tue
2017-01-31 2:36:32, Tue

2017-01-31 12:28:19, Tue
2017-01-31 12:28:20, Tue
2017-01-31 12:30:23, Tue
2017-01-31 12:31:24, Tue

2017-01-31 12:31:31, Tue
2017-01-31 12:32:17, Tue
2017-01-31 12:32 Tue
2017-01-31 12:33:13, Tue

2017-01-31 23:53:34, Tue

2017-01-31 23 Tue

2017-02-01 0:01:49, Wed
2017-02-01 0:03:43, Wed

2017-02-01 0:04:27, Wed
2017-02-01 0:04:27, Wed

2017-02-02 23:54:15, Thu
2017-02-02 23:54:16, Thu
2017-02-02 23:55:48, Thu
2017-02-02 23:57 Thu

2017-02-02 23:58:16, Thu
2017-02-02 23:59:41, Thu

2017-02-08 23:23 Wed
2017-02-08 23:23:38, Wed
2017-02-08 23:23 Wed
2017-02-08 23:24 Wed
2017-02-08 23:24:21, Wed
2017-02-09 0:02:35, Thu
2017-02-09 0:03:33, Thu
2017-02-09 0:03:57, Thu
2017-02-09 0:04:22, Thu
2017-02-09 0:23:44, Thu
2017-02-09 0:24:57, Thu
2017-02-09 0:25:20, Thu
2017-02-09 0:37:26, Thu
2017-02-09 0:39:13, Thu
2017-02-09 0:40:10, Thu
2017-02-09 0:40:16, Thu
2017-02-09 0:40:18, Thu

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eah it did.
FISAs

,'mnot we're going to curious s going
"s ema
il and else, the control.
but at least we have those other that as well
| need to in the shower now.
hey, did you link up with Wondering up about our meeting. I'm guessing WH c was a busy
afternoon
| did. She said the DAG was still to hear back from WHC
the now?

| resisted the to well, she heard back

did see side email?
ep just Since its crim, | it's to invite me.
introduce him.

Problem is | don't have additional information about what we're of the email
and Bill should be with Bannon now,
its gotta past convo, t since me, just i it's not a crim matter,
rather st
we can need to be with cd1

not so much. now, was to Bill about all the
bad
bad? The bad ideas?
of them. The bad ideas. The bad times we're in
more was in Guy a H Act. Agents was trying to or not we were

H? You mean L?

Please let know when know more re
do
ou leave?
Did someone call find out how she knew?
her now
heard from he said he went "up to ‘s office" and was unable to validation of either the brief or the EO
call ?
I and left a .
| have calls in to him and with an email well
K. Let me know if hear from them. | let know we no confirmation of either

ok re | will
No. She's a

told bill about convo with carl.
talk? Just talked with
Please don't tell him that know about it

es.

 

DOJSCO - 700023526
Y
2017-02-09 0:49:43, Thu
2017-02-09 1:03:17, Thu
2017-02-09 1:04:20, Thu
2017-02-09 1:04:57, Thu

2017-02-09 3:04:21, Thu

2017-02-09 3:19:29, Thu

2017-02-09 3:21:28, Thu
2017-02-09 3:21:28, Thu
2017-02-09 10:28:46, Thu
2017-02-09 10:59:17, Thu
2017-02-09 10:59:32, Thu
2017-02-09 11:01:12, Thu

2017-02-09 11:07 Thu
2017-02-09 11:07:24, Thu
2017-02-09 11:07:32, Thu
2017-02-09 11:08:31, Thu
2017-02-09 11:09:47, Thu

2017-02-09 23:51:59, Thu

2017-02-10 3:02:13, Fri
2017-02-10 3:04:09, Fri
2017-02-10 3:05:30, Fri
2017-02-10 3:07:03, Fri
2017-02-10 3:08:59, Fri
2017-02-10 3:25:23, Fri

2017-02-10 3:28:15, Fri

2017-02-10 16:37:12, Fri
2017-02-10 16:37:19, Fri
2017-02-10 18:00:29, Fri
2017-02-10 19:29:22, Fri
2017-02-10 19:37:57, Fri
2017-02-10 19:38:46, Fri
2017-02-10 19:40:37, Fri
2017-02-10 19:57:02, Fri
2017-02-10 19:57:15, Fri
2017-02-10 21:09:12, Fri

2017-02-10 23:02:42, Fri
2017-02-10 23:02:42, Fri

2017-02-11 0:09:30, Sat
2017-02-11 0:11:56, Sat

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lam not to call baker ton Will leave it to dd to tell him
Were able to the #s for
he called this
How'd that go?

I'm I didn't sit there at wrap, force him to ask me to leave
out. Wrap t matter. | You not in a position to against a
Please

whatever | don't know what to say. Im more competent thsn two of them, but org promoted

makes Re
i want the so I'm to and wake
I can't at all
Hi. I'm - what caused the
were u late
Not sure. | think. And the fact that | am to be in the office for like 30 seconds I'm stressed out
Lis. It's going to . | promise promise promise. | you can a you can enjoy

did the stuff come up? At the end of the , or before that:

him, | mean
?

K. I'll be here. the 302...

Just ordered a beer. Nakashima article out
And thanks. OPA send it? don't send me sh*t
No. W;
Damn ‘re . Even when ‘re half in the ‘re still top 1% ;'
ou see, "asked in an interview whether he had ever done so, he twice
re the twice said no fact, there are about 15 who heard that . *s on Axelrod

Oh and BTW remind nced at she's to go meet McCord to follow up on some Fisa

Meet on b3

was
Hi You didn't to text
D is in Bill's office behind closed doors for 25 minutes. he looked in office first
D, like the Director?!
least that with the entree to ask him what is

es

alk?

ou free?
Hey | was incorporate it

Thanks for

ur time on it.

It's you asap. | wou evening's events a request comes ir

see it.
| don't believe And | love B) thank I'm back in

 

DOJSCO - 700023527
2017-02-11 0:12:25, Sat
2017-02-11 0:18:25, Sat

2017-02-11 2: Sat
2017-02-11 2:50:36, Sat
2017-02-11 3:32:50, Sat
2017-02-11 3:33:25, Sat

2017-02-11 3:35:56, Sat
2017-02-11 3:35:56, Sat

2017-02-11 3:36:51, Sat

2017-02-11 3:37:19, Sat
2017-02-11 3:37:45, Sat
2017-02-11 3:40:46, Sat
2017-02-11 3:41:09, Sat

2017-02-14 10: Tue
2017-02-14 10:42:45, Tue
2017-02-14 10:42:53, Tue

2017-02-14 20:19:25, Tue
2017-02-14 20:19:38, Tue
2017-02-14 20:19:44, Tue
2017-02-14 20: Tue
2017-02-14 20:20:50, Tue
2017-02-14 20:22:59, Tue
2017-02-14 20:23:35, Tue
2017-02-14 20:23:35, Tue
2017-02-14 20:24:59, Tue
2017-02-14 20:25:23, Tue
2017-02-14 20:25:37, Tue
2017-02-14 20:28:25, Tue
2017-02-14 20:33:23, Tue

2017-02-14 20:34:32, Tue
2017-02-14 20:37:37, Tue
2017-02-14 20:38:19, Tue
2017-02-14 20:50:40, Tue
2017-02-14 20:56:28, Tue

2017-02-14 21:43 Tue
2017-02-14 23:05:16, Tue
2017-02-14 23:11:13, Tue
2017-02-14 23:16:46, Tue
2017-02-14 23: Tue
2017-02-14 23:39:30, Tue
2017-02-14 23:39:30, Tue

 

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edits to Bill to on desk.
didn't leave your edits in my them in so pls let me know if you're not ok with my them (ie, you told me
them
him). And thank I time.

it's no You can | emailed to tell | left them with him.
I'm . That's not what | want. so awful?
Long story, you . Or write in an Bottom away, Assange,

. Just a litt
le bit on emails about all of them dinner. All of them needing attention
| made your edits, and sent them to | also emailed you an updated 302. I'm not asking you to edit it this weekend, | just wanted tc

it to

it more | it it | appreciate you

and edits.
Bill and | will talk tomorrow If have time, I'd love to notes about what heard

we can to out a time.

Hi. n's out
lsaw.
| don't want to work out.

ou saw has us
es. Just for dd and d.
later.
need to talk Mike was to them

Done
Btw, saw in there as | walked to this After | saw the
PERFECT vase
did Mike share it?
what? Can talk?

wo minutes
Bottom line Mike ran boss' narrative on this. Bunch of additional detail Ellen has et
K. Did mention attendance to kortan?

Not to Mike, he had left. The left seemed to think said Mike was to talk to will detail later of course
is with F 302?

have at 345. Done at 430
Launch on f 302.
K thank still

tied up?
. She's ina for sure. Weird thing is she had no with us talking when I was in the car
media about timetable. WH said timetable Qs should be to do
Warner now about his
reat.
ick | went back in bank. We have been brie

cases as | described ona rt basis for ov

DOJSCO - 700023528
Y
2017-02-14 23:39:30, Tue
2017-02-14 23:39:30, Tue

2017-02-15 14:00:39, Wed
2017-02-15 16:14:20, Wed
2017-02-15 16:14:42, Wed
2017-02-15 16:15 Wed

2017-02-15 16:17:37, Wed
2017-02-15 16:17:37, Wed

2017-02-15 16:47:48, Wed

2017-02-15 16:47:48, Wed

2017-02-16 2:01:49, Thu
2017-02-16 2:01:49, Thu
2017-02-16 2:07:38, Thu
2017-02-16 2:08:24, Thu
2017-02-16 2:18:10, Thu

2017-02-16 2:21:46, Thu
2017-02-16 2:21:59, Thu
2017-02-16 2:23:22, Thu
2017-02-16 2:24:45, Thu
2017-02-16 2:24:59, Thu

2017-02-16 15:11:17, Thu
2017-02-16 16:09:11, Thu
2017-02-16 16:1 Thu
2017-02-16 16:31 Thu
2017-02-16 16:51:29, Thu
2017-02-16 17:47:20, Thu
2017-02-16 17:48:11, Thu
2017-02-16 19:24 Thu
2017-02-16 21:57:34, Thu

2017-02-16 22:59:17, Thu

2017-02-16 22:59:18, Thu
2017-02-16 22:59:18, Thu

2017-02-17 17:20:55, Fri
2017-02-17 19:23:42, Fri
2017-02-17 19:42:46, Fri
2017-02-17 19:49:12, Fri
2017-02-17 19:49:19, Fri
2017-02-17 20:25:09, Fri

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a decade. So is kind of there. (Im sure ocz
will know all this in their

me when can, | have some feedback from and Bill's
back?
Not . Should be soon.
Priebus called. W to
Going to hang in your
EVERYONE about h
is idea to reinterviee n

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Hey I've gotten as far as | can without you. Saved and emailed new version to you. Going back down stairs. Added two bottles of

the bottom 2 inches off ones in front. be too far

Hey I'm getting around to
t
he NYT one.
send it? | haven't read either

Has . 302 been finalized?

No, we recorded it so it stands as it is (302 will it was
elsewhere
No, meant what | asked.
Note the bcc.
K

No. Tomorrow.
Hi there... walked office :
will be in with Dana at 1:00
's fine.
have 5 to chat
| remembered what it was. Let's find 5-10 min to for

wow. Need to talk but back with Bill and

WP feed. Article 20 minutes that F denied sanctions

Fyi just to Scott T. we - At
it was
i just to run it past DD's
from

lunch? ;) Media rock star....

D classified to lawmakers

to be up there? Althea sent

Call me | | have to Carl | need to for

, you to it. Kinc

. And there are ? (And do mean razr?

earlier in the weel

a copy

 

DOJSCO - 700023529
Y
2017-02-17 20:42:

2017-02-22 11:25

2017-02-22 12:04:51,

2017-02-22 12:04:5

2017-02-22 12:04:5

2017-02-22 12:04

2017-02-22 12:04
2017-02-22 12:04:52,
2017-02-22 12:36:1
2017-02-22 12:49:44,

2017-02-22 12
2017-02-22 12:58

2017-02-22 13:02:
2017-02-22 13:02:
2017-02-22 16:11:27
2017-02-22 16:11:27
2017-02-22 16:11:
2017-02-22 16:11:28,
2017-02-22 16:11:
2017-02-22 16:11:29

2017-02-24 22:56
2017-02-24 22:57:
2017-02-24 22:59:
2017-02-24 23:

2017-02-24 23:31
2017-02-24 23:31:
2017-02-24 23:31:

Fri
Fri
Fri
Fri
Fri
Fri
Fri

2017-02-25 0:44:26, Sat
2017-02-25 0:44:26, Sat
2017-02-25 0:44:26, Sat
2017-02-25 0:51:23, Sat

2017-02-25 1:15 Sat
2017-02-25 1:19:32, Sat
2017-02-25 1:19:33, Sat
2017-02-25 1:19:33, Sat
2017-02-25 1:19:33, Sat

2017-03-01 0:20:49, Wed

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for email I'm about to send

| noticed you didn't respond to my email i ) - just checking to sure it didn't bother/ was just
of a friend.
I you just told me you're , sol i :1)I assume it was tot you've
the certa
inty you one statement | out. 2) | any not. | Qs
F to make him
it because it's a) relevant to his Division and b) goes to your point to me that "[I've] got to the point to Bill to no
a
Il this up outside of small group." 3) 1 wrote the email to you because you never responded back (which is fine) but | wanted you tc

know what | had sai
more I you into morning. You assume or ill intent

is none in th
Lis. I'm friend, and on r side.
2) and know what? That's a little Are really not clear | would discuss ANY of it with Bill’
Fair I it was clear, I'm it wasn't. I'm it contributed to restlessness
| just went it. Seems pretty to me, says at outset | said, say, and

n
clear let me know.
reason I'm saying at all about it is not so to point out content to correct a
interna
| narrative | think ‘ve on.
"| don't think he was that we'll " another
rson involved in the case. "It's a function of at the bureau
of 's . Itis so to insular there. Anc
is not someone who cross-examines his own ..it came @
like there was but there was the

Hi there. You still here? T. with Bill. Sad, and a little
I'm to leave |. About 10. In with

K. Let me know if ‘re up for I if not. :
Headed to car now.

Headed to car now.

K. Call in 5?

Just an hour with GZT and Bill in ol

dea with *ss at the Ft... who started

fora between pf and the AG =
How did

sucks. I'm . We're on the same side as t? Good. Kids went to the with her while J cooked. T
eah was on our side. He said for a moment he wishec
he could channel Cole on this with them. ‘re
dum th Also Rod in ver

bad e confirmation Yay! I'm SO Absolute

B) talked to Bill about h Sounds like oca did a and it went

 

DOJSCO - 700023530
Y
2017-03-01 0:23:33, Wed

2017-03-01 0:31:54, Wed

2017-03-01 0:33:30, Wed
2017-03-01 0:33:30, Wed

2017-03-01 0:35:34, Wed

2017-03-01 0:35:34, Wed
2017-03-01 0:35:34, Wed

2017-03-01 0:37:43, Wed

2017-03-01 0:37:44, Wed
2017-03-01 0:37:44, Wed

2017-03-01 0:38:38, Wed
2017-03-01 0:41:14, Wed

2017-03-01 0:41:38, Wed

2017-03-01 0:42:15, Wed
2017-03-01 0:43 Wed
2017-03-01 0:43:17, Wed

2017-03-01 0:44:22, Wed
2017-03-01 0:44:22, Wed
2017-03-01 0:45:35, Wed
2017-03-01 0:46:29, Wed

2017-03-01 0:53:52, Wed
2017-03-01 0:53:52, Wed
2017-03-01 1:01:42, Wed
2017-03-01 1:02:11, Wed

2017-03-01 23:58:06, Wed

2017-03-01 23:58 Wed
2017-03-01 23:58:06, Wed

2017-03-02 Thu
2017-03-02 1:01:07, Thu
2017-03-02 58, Thu
2017-03-02 Thu
2017-03-02 Thu
2017-03-02 :36, Thu
2017-03-02 :52, Thu

 

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no. Did a horrible at what? Who went?

Bill told oca he wanted to brief stuff, not cases. Oca r that to staff, and Bill went up with brief nonsense
oca not was committee request, agree, tc
have the traditional u

So her to which Bill said the committee could care and asked no
Nunes was very r expectation sessions was to get on most sensitive usper cases
made a statem
that he get director up there on a weekly basis. And someone said that 702 reauthorization was dead we hac
used it to T: that
innocent man who had to
point is, there was no meeting of the minds about what the briefing was supposed to be. At the end, Bill apologized if there was <

misu
communica we to do. Nunes was to us, we was not we
or . Oca
didn't that last little
a message to i i want Angry ca
leadersh
no. That's not . |wonder if ‘ve made a call, hence the D's for tomorrow
don't share with | don't want to burn the fact that bill told me all of this until he the chance to talk to hir
t . I juice to go to Jim or
to set this
both bill and | have an utter lack of faith in take the and solve i
of this. Not
it was pretty - An 45 minutes,
them
him a hard time about

20 to 30 minutes, rest was

wanted and weren't what and other
| won't. is at the off site dinner
No, not beth the | meant | wonder if a member a called the D to

, was just to came up went gavea out to Jim.
it

the DS about what we do and don't brief, the
Baker or And need to read to the kiddos now

ok. to for N in about 45...

Forgot one thing | wanted to mention - CG is having a briefing to the US Atty on Fri. | think Bill got us invited via SAC, at least for the
t 10 mimu
we want to case in context Ww. to your to US Atty. I'm worriec
sur
their case in the context of all the various th

times . Should be the their
now. Wtf are 21?!
the their
?

It's not. In some it's dou down on the inaccuracies. Was the word that

*s what kortan said.

DOJSCO - 700023531
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TE/TIME/DAY N/OUT
2017-03-02 : Thu OUTBOX
2017-03-02 1:04: Thu INBOX
2017-03-02 1:05:00, Thu OUTBOX It's | can't read it now. Let's discuss later. Seems so far
2017-03-02 1:05:48, Thu INBOX | haven't either. Got to the first and and decided to focus on . Sounds like a
2017-03-02 1:06: Thu INBOX Inaccu
2017-03-02 1:29:29, Thu INBOX Note bcc

2017-03-05 12:55:23, Sun INBOX Cool. I'm up the case TPs | wrote then will walk in. Did see this AM's tweet:
2017-03-05 12:55:37, Sun OUTBOX No.

2017-03-05 12:57:20, Sun INBOX He Fox something about who said it would be easier once | was someone that to Rs
2017-03-05 12:57:51, Sun OUTBOX eah it now.
2017-03-05 13:01:32, Sun INBOX Call when ‘re
2017-03-05 13:57:45, Sun INBOX Bill is all this at his er was muc
2017-03-05 13:57:46, Sun INBOX h =) so I'll def come in this after
2017-03-05 13:57:46, Sun INBOX noon with
2017-03-05 13:58:35, Sun OUTBOX are =
2017-03-05 13:59:40, Sun INBOX Because | want to write it.
A to it ear, want to overem
2017-03-05 14:02:04, Sun INBOX into but
| don't want to entirety of Mon -my is give people day to and comment, then sit
2017-03-05 14:02:04, Sun INBOX down at the end of t
2017-03-05 14:02:04, Sun INBOX he and all the comments for for discussion on Tues.
2017-03-05 14:02:51, Sun OUTBOX I'm not to set a deadline, | don't think.
| agree. I think we need to be a little thoughtful about this, including looping in DoJ. And we probably need to tell the WH all this
2017-03-05 14:04:09, Sun INBOX before we tell Co
2017-03-05 14:04:09, Sun INBOX no?
2017-03-05 14:04 Sun OUTBOX | don't know.
2017-03-05 14:07:48, Sun INBOX im in while he I work in mine until he has something done.
2017-03-05 14:12:40, Sun OUTBOX Never mind. We're . Will have to in the morni
2017-03-05 14: Sun INBOX ust saw this now. Need to talk?
2017-03-05 14:21:34, Sun INBOX Besides I've come back because | have notes of all the
2017-03-05 14:21:34, Sun INBOX
Nope! 1 we're all set. I spent an ing now, |
2017-03-05 14:22:31, Sun OUTBOX
2017-03-05 14:22:46, Sun OUTBOX Thanks.

2017-03-07 0:01:25, Tue INBOX the D TPs with Bill...
2017-03-07 0:09:30, Tue OUTBOX

2017-03-07 0:11:07, Tue INBOX
2017-03-07 1:19:13, Tue INBOX entire is to DoJ to "yes" on brief

ell they're idiots if they really think we're going to wait for a yes. Or that the D is like the idiots they work for and actually need TPs ir
2017-03-07 1: Tue OUTBOX to brief.

to stop to content ~ i'm

2017-03-07 1:21: Tue INBOX . What we did w
2017-03-07 1:21:57, Tue INBOX and this is
2017-03-07 1:22:57, Tue INBOX this is based on something needed and not some lower level's

 

DOJSCO - 700023532
2017-03-07 1:23:49, Tue

2017-03-07 1: Tue

2017-03-07 23:23:55, Tue
2017-03-07 23:28:43, Tue
2017-03-07 23:36:27, Tue
2017-03-07 23:36:46, Tue
2017-03-07 23:38:15, Tue
2017-03-08 Wed
2017-03-08 1:07:48, Wed

2017-03-15 2:02:15, Wed
2017-03-15 2:02:26, Wed
2017-03-15 2:07:18, Wed

2017-03-17 23:43:59, Fri
2017-03-18 0:16:13, Sat

2017-03-18 0:23:20, Sat

2017-03-18 0:23:20, Sat

2017-03-18 0:23:20, Sat

2017-03-18 0:23:20, Sat
2017-03-18 0:26:49, Sat
2017-03-18 0:28:29, Sat
2017-03-18 0:29:14, Sat
2017-03-18 0:30:33, Sat
2017-03-18 0:30:35, Sat
2017-03-18 0:33 Sat
2017-03-18 1:04 Sat
2017-03-18 1:05:11, Sat
2017-03-18 1:07:59, Sat
2017-03-18 Sat
2017-03-18 1:08:00, Sat
2017-03-18 Sat
2017-03-18 Sat
2017-03-18 1:08:48, Sat
2017-03-18 1:09:11, Sat

2017-03-23 20:51:42, Thu

2017-03-23 21:03 Thu

2017-03-24 1:24 Fri
2017-03-24 1:26:38, Fri

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No just are nervous
should and shouldn't

Bill's OK with it. Carl said to send to DD. Baker, me. You'll have it You see AG sent

| will not be home before 7 at the earliest. Just a heads
still here...but leave in not too
related to the ?
bad t.
F*ck. Bad? we need to ate?
I'm out. Will be for 30-40 if have a chance to talk
Had an excellent talk with Let's circle back up tomorrow.

hi. two from . Did know the in the end?!
21?! that we should be so

did | hear that the we wrote two was sent to Graham and Whitehouse (or
It was not sent. Still out how to communicate the to them with
K we sent to | was
hand carried
, l to it was more content in
two
, but when | asked Mike to describe what he heard, it was much more along the lines of the content of the briefing in the doc
two
ng of 8 name was my name. sense to start to prep scene

Is it not the letter that sent u to the wi {
No. He said it described And that she had the one name. None of that would be in the letter
our name isn't in the two or in the 4 Para . So must be a leak of docs the
| wasn't clear. The whose name starts with middle nae

Name
makes she has sources on side Think about her
Do know what was in the set of documents DoJ sent to t
set of documents? I'm not aware of other than the two, and the letter
"On the House Committee received a set of
ments from the Justice in to its uest fc
r materials T ’s accusation. The did not reveal
the documents substantiate or refute the ’s wiretz
claims."
Don't know. ask
thanks.

, CNN is over over D's statement trigger an investigation. Do we message
?

I'll take that as 100% no

to talk with Bill with ig (1 about razor...

 

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Y
2017-03-24 1:27 Fri Re the leaks? I'd ask him to it's still much in Flux | think
2017-03-24 1:27:14, Fri I understand the likelies are the at WH and
2017-03-24 1:27:15, Fri DoJ, not the SAs and
2017-03-24 1:27:19, Fri es re leaks
2017-03-24 1:29:47, Fri do.
2017-03-24 1:30:00, Fri I'd talk to baker first.
2017-03-24 1:30:13, Fri 's she it
2017-03-24 1:32:21, Fri No idea
2017-03-24 1:32:57, Fri our think IG understands who the likelies are? Their line don't know a lot about leak work
2017-03-24 1:34:37, Fri No not.

2017-03-28 14:45:51, Tue a ch brief for on ?1 hit

2017-03-28 14:46 Tue back from ent at where GZT and Swartz at each other.

2017-03-28 14:46:36, Tue Re ch?

2017-03-28 14:47:22, Tue No, turks. But in that is friction

2017-03-28 14:47:29, Tue team needs to with for an I think still have to meet with tomorrow.
2017-03-28 14:47:48, Tue are

2017-03-28 16:33:59, Tue I'm so f* mad | feel like

2017-03-28 16:42:33, Tue ? Just talked to on corridor...

2017-03-28 16:43 Tue well let him know he can go f himself for me

2017-03-28 16:43:34, Tue I'll callin a sec from office

2017-04-10 12:24:38, Mon Please talk the DAG call to him so he knows what's on. We should talk too but I'm not sure there will be time

2017-04-10 12:25: Mon ?
2017-04-10 12:25:43, Mon our cd4 section chief? Isn't he
2017-04-10 12:26:21, Mon Dana ALREADY called him. At like 730. What do we need to talk a
2017-04-10 12:26: Mon bout?
2017-04-10 12:28:19, Mon stand
2017-04-10 12:28:43, Mon work? Us/M/J? | have 830 and then booked solid. Can talk now or tell me:
2017-04-10 12:29:07, Mon no.
2017-04-10 12:29: Mon No, re
2017-04-10 12:29:29, Mon did Dana
as . . i . you get in,
2017-04-10 12:30: Mon with
2017-04-10 12:30:22, Mon
2017-04-10 12: Mon that case. Never mind. Was that case with the fort one.
2017-04-10 12:31:29, Mon if are to try to blow up the we need to that to and d soonest
2017-04-10 12:45 Mon | know. Bill was at not me with GS14). | assume he'll brief them this morn
2017-04-10 12:52:45, Mon now if can talk.

2017-04-11 23:37 Tue Baker to call tomorrow about Don't mention the call to the d this am
2017-04-11 23:37 Tue me?

2017-04-11 23:41:02, Tue me more detail?

2017-04-11 23:42:24, Tue Not here. he'll ask to meet with . | asked that he talk to not bill.

2017-04-11 23:42:57, Tue effort to break the that is and will be to the bottom of CH

2017-04-11 23:44:45, Tue Thanks You see the WP article? Gas on the "cloud" and leak narrative.

2017-04-11 23:45 Tue idea of or external us?

2017-04-11 23:50:34, Tue But that is the narrative can't know other than in on morn or known from Bill

 

DOJSCO - 700023534
Y
2017-04-11 23:50:41, Tue

2017-04-11 23:51:55, Tue
2017-04-11 23:53:26, Tue
2017-04-11 23:55:18, Tue
2017-04-11 23:55:38, Tue

2017-04-11 23:56 Tue

2017-04-12 18:07:11, Wed
2017-04-12 18:07:11, Wed
2017-04-12 18:08:17, Wed
2017-04-12 20:00:54, Wed
2017-04-12 20:51:10, Wed
2017-04-12 21:00:12, Wed
2017-04-12 21:40:32, Wed
2017-04-12 22:31 Wed
2017-04-12 22:31:02, Wed
2017-04-12 22:31 Wed
2017-04-12 22:31 Wed
2017-04-12 22:33:37, Wed
2017-04-12 22:58:10, Wed
2017-04-12 22:58:11, Wed
2017-04-12 22:58:11, Wed
2017-04-12 22:58:11, Wed
2017-04-12 22:58:11, Wed
2017-04-12 22:58:11, Wed

2017-04-22 14:53:30, Sat
2017-04-22 15:26:11, Sat
2017-04-22 15:26:16, Sat
2017-04-22 15:26:54, Sat
2017-04-22 15:32 Sat
2017-04-22 15:35:36, Sat

2017-04-23 2:17 Sun
2017-04-23 2:18:17, Sun
2017-04-23 2:19:28, Sun

2017-04-23 2:20:28, Sun
2017-04-23 2:21:20, Sun

2017-04-23 2:21:40, Sun
2017-04-23 2:21:52, Sun

2017-04-23 2:22:33, Sun
2017-04-23 2:23:26, Sun

2017-04-23 2:23:27, Sun

 

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Idea of his.
He was I satin D time. me into
mention :
and | said both to him. Just can't reference
it. NP. Thank
Do like his idea?

I asked him to reach out to not bill bc bill can sometimes go down a rabbit hole. He it and said he would
Well, JB never called and there's a new meeting with Bill for just the two today at 3. Whatever, you tried. | even

retext of call | had with GC. You'll have to outa to details to me, I'm not certain Bill will share
two new articles com one re namesake and a n one which is worse
find baker and that | said he reach out.
. Glad made it. Awful news related to the draft | went thru

K. Will send an email now.
sweet Jesus that's awful. I'm . And I'll be clear work
The bad news re matter we talked about is
said were told on Fri that case will go to John noi
NSD.
es
Baker talked to Bill about whatever heard
Bill is not me about it, and Bill just set up a or
hour with new team and Baker and
not me on . Sol I'll hear about it fi
and Bill and JB and the who's been on the for
make decisions. G

is out!
21?
no !
no email all damn
Is remail ?

did think of the the ? We didn't a chance to talk about it
| won't read the comments.
call
| wasn't crazy matters. were too , too su But | guess
rest of it was fine.
ou were mentioned a lot. Wonder what to

I'm not sure | understand the Tweet either. | think his notion that will cause a stir in the overall liberal New York Times readersh
Same same.
ny, | part it seems to put i . I'm not sure
reason
course did.
| know | was. The only thing that | feel uneasy about is the part mentioning the fact that | had the Trump investigation. | think that
cause

DOJSCO - 700023535
Y
2017-04-23 2:23:27, Sun
2017-04-23 2:23:44, Sun
2017-04-23 2:24:03, Sun
2017-04-23 2:25:43, Sun
2017-04-23 2:25:43, Sun

2017-05-04 13:39:14, Thu
2017-05-04 13:41:22, Thu
2017-05-04 13:41:53, Thu
2017-05-04 22:06:36, Thu
2017-05-04 22:10:10, Thu

2017-05-08 19:17:00, Mon
2017-05-08 19:17 Mon
2017-05-08 20:16:47, Mon
2017-05-08 20:30:09, Mon
2017-05-08 21: Mon
2017-05-08 23:01 Mon
2017-05-08 23:01 Mon

2017-05-08 23:01 Mon

2017-05-08 23:01 Mon
2017-05-08 23:01:54, Mon

2017-05-08 23:16:13, Mon

2017-05-08 23:17:15, Mon

2017-05-08 23:17:15, Mon
2017-05-08 23:17:15, Mon

2017-05-08 23:19:09, Mon

2017-05-08 23:19:09, Mon
2017-05-08 23:19:10, Mon
2017-05-08 23:21:44, Mon
2017-05-08 23:24:44, Mon

2017-05-08 23:25:25, Mon
2017-05-08 23:25:26, Mon
2017-05-08 23:32:41, Mon

2017-05-10 0:14:26, Wed

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so I'm not sure which ones. Too
I that.
ou home safe?
entire of our
York times.

to what we have to

btw
Brian,
covered.
thanks.

CK Yates
incidental collection incorre

narrative.
I'm free if have two minutes.

called desk. I'm free

if have time and it's not
- to
Baker
and do it (Bill didn't mention
historical and a wil

still in

memorialized in the New

ODAG request.

questions are

for someth said. | know
wants it's

have a follow

| assume she's welcome

ve Bill's session now..
istorica he wants

come too. | told Bill that right now it's 90%+

waste of AD/certainly EAD time. Whatever, he'll see and continue or not. Good luck having any of them do/coordinate the nitty gritty
the lar of
to get done. Have fun.

which | can sh
tomorrow.

I'm Jim is not

‘Il see
. Or you your meeting
line, end up where
u're now.

m not

to be able to transact on this AT ALL. And he's
ep. | was going to to

is

to meeting to

. Some more

which would be
you me....

So,

ep!re Frankly, all of them. They're not getting the volume of granularity that simply isn't appropriate for them, nor is the kind oi

can

give to a SC to run.

? If so I'll

ask tomorrow...
saw email. Yes

was giving me a on D's Burr and Warner

was just prep D, . If you're 130,

terms

access back and forth. You can make it

It was short. We're

we need to

the case we've been

t up - for now

on now while

 

up. you get

up every remaining HOGR

DOJSCO - 700023536
2017-05-10 9:29:51, Wed
2017-05-10 9:30:56, Wed

2017-05-11 15:08:21,
2017-05-11 15
2017-05-11 15:33:
2017-05-11 15:33:59

2017-05-11 15:56:
2017-05-11 15:56:

2017-05-11 16:23:19
2017-05-11 16:28:36,
2017-05-11 16:28:54,
2017-05-11 16:28
2017-05-11 16:29:35,
2017-05-11 16:29:54,
2017-05-11 16:33
2017-05-11 16:33:1
2017-05-11 16:33:
2017-05-11 16:33:49
2017-05-11 16:35:5
2017-05-11 16:36:04,
2017-05-11 16:36:
2017-05-11 16:37:24,
2017-05-11 16:56:
2017-05-11 16:57
2017-05-11 17:23:27,
2017-05-11 18:1

2017-05-15 16:11:2
2017-05-15 16:11:
2017-05-15 16:11
2017-05-15 16:12:

2017-05-15 19:11:58,

2017-05-15 19:11
2017-05-15 19:31:09,
2017-05-15 20:01:

2017-05-15 20:03:13,
2017-05-15 20:03:
2017-05-15 20:03:
2017-05-15 20:03:
2017-05-15 20:04:
2017-05-15 21:07:

Thu
Thu
Thu
Thu

Thu
Thu

Thu
Thu
Thu
Thu
Thu
Thu
Thu
Thu
Thu
Thu

 

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. Ina formal . Soon
ee. I've been and I'll with Bill

need to lock in

s current top at a Senate

furor over 's

Watch live."
Nailed it! | have
Me too
Latest on Comey: Acting F.B.I.

mobile 7,
-html
were He's recent prep you want.

NEWS ALERT: Acting FBI Director

House - NYTimes.com

well.

said was Burr and Warner because DAG to see them
*s correct. That's what we were told.
before coming back?
are back.
| saw Adam in the outside 's office

he want to meet?

now. Doesn't

have to answer a cfius
No team now unless there is an issue to
es | will ask Bill to ask her. there now so | want to wait a sec...
ou want nk info?
told Bill he's
assume ‘re

. You have iPhone?
with DAG was about
he wanted said DAG said he took that under advisement. Thats it
for the u I'm so of

eah he did a . Didnt see on tv but

Burr . Warner

I'm dumb that we talked earlier
for obstruction Bill can what he heard from Carl.
we're a team
| have abut me w/r/t your discussion with Carl. Bottom line, recommend what you think is right. If you
m
say it. Let Ca toa
of that.
me a call
called.
In wrap In to on,
't think a
concerns are there after last week's events
item is

extent me

be done nit 430

Remind me to tell about with Susan Collins

DOJSCO - 700023537
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Y
2017-05-15 21:13:46, Mon T disclosed classified info to Russians last week re CT threat..

2017-05-17 1:36:39, Wed He with tomorrow?
2017-05-17 1:38:10, Wed more for he to a time for interview?
2017-05-17 1:41:15, Wed when is of 8? Should | interview with John D?
2017-05-17 1:52:28, Wed . On with Baker. No clear time for interview. But | have a memo to write now for sure. 4:45 tomorrow

Memo is morning a Getting witness statements witnesses not you
2017-05-17 1:59: Wed And PLEASE set a

30 minutes for a dump tomorrow. |' in early to review whatever you've got. I'm going to tell Joe not to be in at 730 ready tc

2017-05-17 1:59:13, Wed interview, and
2017-05-17 1:59:13, Wed I'm to continue to interview with Durham.
2017-05-17 Wed the hell's his ?
2017-05-17 Wed
2017-05-17 2:01:27, Wed write it tomorrow.
2017-05-17 2:01:39, Wed interview . Who | need to tell is set and we're not first th
2017-05-17 :50, Wed I it. And could write it but | took notes
2017-05-17 2:02:16, Wed call her and ask. It didn't come . It was frenetic
2017-05-17 2:02:25, Wed I'd rather write it We also need class review. Chaffetz has asked for all
2017-05-17 2:02:52, Wed Dude | it. lam one

| you It's we're In . m serious wanting a tomorrow. I'll get
2017-05-17 2:03:38, Wed .
2017-05-17 2:05:17, Wed left hera
2017-05-17 2:05:56, Wed need to write it.
2017-05-17 2:08:19, Wed Is rod with ?
2017-05-17 Wed . Unclear.

Ir Reasons | can tomorrow,
2017-05-17 2:10:12, Wed Bill.
2017-05-17 2:12:04, Wed this is TOTALLY to kill me to hear.
2017-05-17 2:19:20, Wed I . We all do. His staff advise him otherwise.
2017-05-17 2:22:18, Wed He's either a dead man and/or a hero. so him, doesn't hurt him.
2017-05-17 2:23:28, Wed is watch He needs to. To redeem his first and foremost.

2017-05-17 9:56:21, Wed Mentioned of the letter and she'd let me know this about
2017-05-17 1 Wed .

we get a copy to prep we to interview? No super morning, |
2017-05-17 10:12 Wed doit

can you get time again with Baker this morning to class review? We're going to need to officially provide those soon, | think. You
2017-05-17 10:15:13, Wed Chaffetz's let
2017-05-17 10:15:13, Wed ? The NYT editorial lead references it, calls it "
2017-05-17 10:21:33, Wed | know dude. | emailed baker last him to clear time . Re letter, need to direction from

re Jim. Seems improper to not discuss it during interview. one most parts of it. |

2017-05-17 10:25 Wed Bill
2017-05-17 10:25 Wed ask him to ask for it this

2017-05-17 10: Wed Doesn't mention the he said it did. Is a reference to the "three times” statement which was in the final. Just
2017-05-17 10:34 Wed hell. Ok. Well, whatever. I'm to go k
2017-05-17 10:34 Wed ick this in the ass. it's the

2017-05-17 11:17:27, Wed | want to go thru some of the on lawfare to chronicle. Will call when | in car. About 30

 

DOJSCO - 700023538
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Y
2017-05-17 11:18:48, Wed K. Pu into call me here. Im to hot the TPs.
2017-05-17 11:19:51, Wed Lawfare article (s)?
2017-05-17 11:46:47, Wed when are free
2017-05-17 16:10:30, Wed listening to this?
2017-05-17 16:58:09, Wed be late. Bill is still on the No I'm without hirr
2017-05-17 16:58:26, Wed

Hey | was ca in part to say comment | Paper not was in no way you - it's my

2017-05-17 18:18:46, Wed at the whole s
2017-05-17 18:18:46, Wed e of with Carl etc. | think understood that but | wanted to make sure
2017-05-17 18:40:34, Wed I think sent the file
2017-05-17 19:57:29, Wed note on outline. We no detail on March Toll Does have t limits on tha’
2017-05-17 20:52:43, Wed He “to date." It's a little in but it's not contex
2017-05-17 20:53 Wed
2017-05-17 21:05:07, Wed | think he should | was not of in that there was the interaction the D had
2017-05-17 22:02:34, Wed News Mueller
2017-05-17 22: Wed ou could go work with Aaron for him... heard it from me first... ;
2017-05-17 22: Wed to Wilmer when it's done
2017-05-17 23:45:23, Wed F'in Pamela Brown knows there were two call memos
2017-05-18 1:07:09, Thu ‘ou do Lisa. Cheers.
2017-05-18 1:08:14, Thu Peter. You do too. We've one hell of a team

2017-05-18 1:11:14, Thu :) Yes we do. I'm to out if | can do what relax to let go and breathe for a of a second
2017-05-18 10:14:42, Thu Hi there. Emailed with Aaron last n He's too.
2017-05-18 10:22:51, Thu . Wowie wow wow.
alked to Aaron in the context of getting preservation letter out under Mueller's authority, not the team. Because while they were
2017-05-18 10:32:31, Thu on them
2017-05-18 10:32:31, Thu weren't about them not out under other than our letterhead
2017-05-18 10:33:23, Thu Aaron and | are later . He can't case facts until he his a letter
ps? Mine , 520 or so) was a carryover n
2017-05-18 10:47:57, Thu DoJ run from here...
2017-05-18 10:52:44, Thu I Can them out ? And EVERYTHING so much better on that case..
to. | a same. He Kevin team were
2017-05-18 10:57 Thu . But ‘re not
| want going out un - I'm to Aaron it morning, get Kevin in
2017-05-18 10:57 Thu them
2017-05-18 10:57 Thu .
| disagree with the Gaeta decision, though | know that counts for nothing. It won't end with him. It will have a chilling effect on others
2017-05-18 11:21:01, Thu It won't
any seem to be oozing warner. | we're at going to
2017-05-18 11: Thu him cone back here
2017-05-18 11:21:01, Thu to and others with him, rather than a needless Rome as well:
Lisa, | wou But we a iscussion in same setting context.
2017-05-18 11:28:44, Thu But 'r
Senators. is is game, We assume its ours, its not. is Director But
2017-05-18 11:28:44, Thu undertand this isn't "
morning -I i game. we're a to give
2017-05-18 11:28:44, Thu access to aren't
2017-05-18 11:28:44, Thu and smart and

 

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DATE/TIME/DAY PHONE IN/OUT [PHONE EXT OF MESSAGE

Undertand I'm being reasonable in my concern. I'm not saying "Andy f*cked up." I'm just saying | disagree and am concerned about
2017-05-18 11:31:44, Thu INBOX where it ends up. In the

end we're one team one fight, Lisa (though | frequently hate people who use that phrase) Did your anniversary go ok? | don't really
2017-05-18 11:31:44, Thu INBOX want a lot of deta

 

 

 

 

 

 

 

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